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 1   Andrew T. Solomon
     Admitted Pro Hac Vice
 2   SOLOMON & CRAMER LLP
     1441 Broadway, Suite 6026
 3   New York, NY 10018
     Telephone:    (212) 884-9102
 4
     Facsimile:    (516) 368-3896
 5
     Attorneys for the Official Committee of Equity Security Holders
 6
                                 UNITED STATES BANKRUPTCY COURT
 7                                CENTRAL DISTRICT OF CALIFORNIA
                                   SAN FERNANDO VALLEY DIVISION
 8   In re:                                                     Case No. 1:17-bk-12408-MB
                                                                Jointly administered with:
 9   ICPW Liquidation Corporation, a California corporation,1   Case No. 1:17-bk-12409-MB

10                     Debtor and Debtor in Possession.         Chapter 11

11            In re:                                            FIRST AND FINAL INTERIM
                                                                APPLICATION OF SOLOMON &
12           ICPW Liquidation Corporation, a Nevada             CRAMER LLP FOR APPROVAL OF
     corporation,2                                              FEES AND REIMBURSEMENT OF
                                                                EXPENSES; DECLARATION OF
13                     Debtor and Debtor in Possession.         ANDREW T. SOLOMON IN SUPPORT
                                                                THEREOF
14
                Affects:
15                                                                     Hearing:
                  Both Debtors                                         Date: April 24, 2018
16                                                                     Time: 2:30 p.m.
                 Ironclad Performance Wear Corporation, a              Place: Courtroom “303”
17   California corporation                                                     21041 Burbank Blvd.
                                                                                Woodland Hills, CA
                Ironclad Performance Wear Corporation, a
18
     Nevada corporation.
19

20

21

22

23
     1
         Formerly known as Ironclad Performance Wear Corporation, a California corporation.
     2
24       Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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 1               Solomon & Cramer LLP (“S&C”), Special Counsel to the Board of Trustees f/k/a the

 2   Equity Committee of the Trust created pursuant to the Debtors and Official Committee of Equity

 3   Security Holders Joint Plan of Liquidation dated February 9, 2018 (the “Plan”), and that certain

 4   trust agreement dated as of February 28, 2018, entered into by and among the Trustee, ICPW

 5   Liquidation Corporation, a California corporation, formerly known as Ironclad Performance

 6   Wear Corporation, a California corporation (“ICPW CA”), and ICPW Liquidation Corporation, a

 7   Nevada corporation (“ICPW NV”), formerly known as Ironclad Performance Wear Corporation,

 8   a Nevada corporation (collectively, the “Debtors”), and the Trust Board established under the

 9   Plan and the Trust Agreement, hereby submits this Application seeking an interim and final

10   award for S&C’s attorneys’ fees in the amount of $62,208.75, contract paralegal expenses of

11   $1,375.00, and expenses of $1,437.05 incurred during the period of November 29, 2017 (the

12   effective date of the Equity Committee’s employment of S&C) through February 28, 2018 (the

13   “Covered Period”).

14               Any opposition or responsive papers must be filed and served at least fourteen (14) days

15   prior to the hearing on this Fee Application in the form required by Local Bankruptcy Rule 9013-

16   1(f).

17   I.          Summary of Request

18               The Equity Committee hired S&C as Special Counsel to provide legal services and

19   advice relating to the Debtors’ potential claims against Debtors’ former officers, directors,

20   accountants, auditors, and others. In connection with these matters, during the Covered Period,

21   S&C incurred legal fees of $62,208.75, paraprofessional fees of $1,375.00, plus expenses of

22   $1,437.05 and, therefore, requests a total payment of $65,020.80.

23               S&C did not receive any retainer, so all amounts requested are unpaid.

24
     FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
     DECLARATION OF ANDREW T. SOLOMON IN SUPPORT THEREOF

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 1               S&C has not filed any prior fee application.

 2               In support of the Application, S&C respectfully states as follows:

 3   II.         A Brief Narrative History and Report Concerning the Status of the Case

 4               On September 8, 2017, ICPW CA (Case No. 1:17-bk-12048-MB) and ICPW NV (1:17-

 5   bk-12049-MB) filed voluntary petitions for relief under Chapter 11 of the United States Code.

 6   The cases are being jointly administered. [Dkt 25].

 7               On September 20, 2017, the United States Trustee filed a notice appointing an Equity

 8   Committee to represent the interests of the shareholders of the Debtors. [Dkt 59].

 9               On October 3, 2017, the Jeffrey Cordes and William Aisenberg (the “Former Officers”)

10   filed proofs of claim against the Debtors (Claim Nos. 7-1 and 8-1) (the “Proofs of Claim”). In

11   their Proofs of Claim, the Former Officers asserted claims to recover the severance payments

12   sought in the arbitration proceeding they commenced one day prior to the Petition Date –

13   Aisenberg (Claim No. 7-1) in the amount of $129,406.75; Cordes (Claim No. 8-1) in the amount

14   of $166,906.75.

15               On October 20, 2017, the Former Officers filed a motion requesting relief from the

16   automatic stay imposed by § 362 of the Bankruptcy Code to (a) pursue their arbitration claims

17   against the Debtor and (b) to seek insurance coverage payments from the Debtors’ D&O

18   insurance policy (the “Relief from Stay Motion”) [Docket Nos. 132-33, 136]. The Relief from

19   Stay Motion attached copies of the Former Officers’ Indemnification Agreements as exhibits.

20               On November 3, 2017, the Court approved the sale of the Debtors’ business to Brighton-

21   Best International, Inc., which sale closed on November 14, 2017 [Dkt 177]. Following the sale,

22   the Debtors effectively ceased all operating businesses and began liquidating.

23

24
     FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
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 1               On January 26, 2018, the Equity Committee filed an objection to the Proofs of Claim

 2   filed by the Former Officers and complaint against the Former Officers commencing Adversary

 3   Proceeding No. 1:18-ap-01011-MB (the “Adversary Proceeding”).

 4               On February 9, 2018, the Debtors and the Equity Committee jointly filed Debtors and

 5   Official Committee of Equity Security Holders Joint Plan of Liquidation Dated February 9, 2018

 6   (the “February 9 Plan”) [Dkt. 438]. On February 13, 2018, the Court entered an order

 7   confirming the Plan. [Dkt. 442]. Under the Plan, the Court authorized the creation of the Trust

 8   for the benefit of the former shareholders of the Debtors. The Trust’s purpose is to pursue all

 9   claims and causes of action that belong to the Debtors’ bankruptcy estates. S&C is Special

10   Counsel, hired to assist the Trust in pursuing such claims.

11   III.        Employment of S&C

12               On December 19, 2017, the Court entered an order granting the Equity Committee

13   standing to pursue claims against the Former Officers on behalf of the Debtors’ estates [Dkt 357].

14               On December 19, 2017, on notice of motion [Dkt 356] the Equity Committee filed an

15   application to appoint S&C as Special Litigation counsel to the Official Committee of Equity

16   Security Holders Nunc Pro Tunc as of November 29, 2017 [Dkt 354]. Andrew Solomon,

17   managing partner of S&C, submitted a Declaration in support of the application. [Dkt 355].

18   Under the proposed terms of retention, S&C agreed to provide legal services at a 25% discount

19   off standard rates. With the discount, the agreed (and later approved) rates are:

20                           Andrew T. Solomon (Partner) - $337.50/Hr.
                             Jennifer Cramer (Partner) - $225/Hr.
21                           Rebecca Zawisky (of counsel) - $187.50/Hr.
                             Other contract attorneys for discovery: $125/Hr.
22
                 On January 1, 2018, the Court granted the Equity Committee’s application to employ
23
     S&C as Special Litigation Counsel effective November 29, 2017, with any hourly compensation
24
     FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
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 1   or cost reimbursement pursuant to 11 U.S.C. §§ 330 and 331, and contingency fee compensation,

 2   pursuant to 11 U.S.C. § 328(a), to be paid in such amounts as may be allowed by the Court upon

 3   proper application or applications. [Dkt 372].

 4   IV.         Amount of Fees and Expenses Previously Requested

 5               This is S&C’s first request for legal fees and expenses. The request covers the period

 6   November 29, 2017 to April 1, 2018 and seeks $65.020.80.

 7   V.     Brief Narrative Statement of the Services Rendered and the Time Expended During
     the period Covered by the Application
 8
                 S&C has provided legal services and advice as to the following matters:
 9
                            Advised re. Insurance coverage under the D&O Policy in connection with matters
10
                             related to the Former Officers, the Relief from Stay Motion, and the Adversary
11
                             Proceeding;
12
                            Analyzed and advised regarding the Proofs of Claim filed by the Former Officers;
13
                            Advised re. forum issues relating to the claims and defenses involving Former
14
                             Officers;
15
                            Provided regular status updates to Equity Committee members;
16
                            Coordinated and corresponded with counsel to the Equity Committee, Dentons
17
                             US LLP (“Dentons”), with respect to filings involving the Former Officers,
18
                             including, but not limited to, the Relief from Stay Motion, the D&O Policy, and
19
                             Adversary Proceeding;
20
                            Advised Equity Committee on settlement of claims against corporate counsel to
21
                             the Debtors;
22
                            Assisted in response to SEC inquiries;
23

24
     FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
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 1                          Advised re. potential claims and defenses re. Debtors’ former public accounting

 2                           firm;

 3                          Advised regarding potential litigation against various third parties;

 4                          Prepared, Researched, and commenced the Adversary Complaint against Former

 5                           Officers;

 6                          Reviewed and collected documents at Debtors’ office and interviewed witnesses;

 7                          Assisted Dentons in motion to estimate claims of the Former Officers; and
 8                          Advise re. disputes involving indemnification obligations to Former Officers.
 9   VI.  Detailed Listing of all Time Spent by the Professional on Matters for which
     Compensation is Sought
10
                 Attached as Exhibit A to the Declaration of Andrew T. Solomon (“Solomon Decl.”) is a
11
     detailed presentation of the time, details and charges billed during the period. Two full time
12
     attorneys at S&C worked on the matter:
13
                 Andrew T. Solomon ($337.50/Hr.): 131.1 hours, $44,246.25
14
                 Jennifer G. Cramer ($225.00/Hr.): 38.5 hours, $8,662.50
15
                 In addition, of counsel, Rebecca Zawisky ($187.50/hr) provided legal services in Texas:
16
     49.6 hours, $9,300. Ms. Zawisky’s time details are provided in spreadsheets attached as
17
     Solomon Decl. Exhibit B.
18
     VII.        Detailed Listing of Actual and Necessary Expenses
19
                 Solomon Decl. Exhibit A also contains a detailed listing of the actual and necessary
20
     expenses paid by S&C in connection with this engagement. A summary of those expenses is as
21
     follows:
22

23

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     FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
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 1               Transportation:                                   $1,303.30

 2               Postage:                                          $69.25

 3               Travel Meals:                                     $35.50

 4               Telephone:                                        $0

 5               Photocopy:                                        $0

 6               Facsimile:                                        $0

 7               Messenger:                                        $0

 8               Computer Research:                                $0

 9   VIII. Description of the Professional Education and Experience of Each of the Individuals
     Rendering Services
10
                 The qualification of Andrew T. Solomon, Jennifer G. Cramer, and Rebecca A. Zawisky
11
     were attached to the Declaration of Andrew T. Solomon [Dkt. 355], and are again attached
12
     hereto as Exhibit C.
13
     IX.         Source and Amount of Cash Available to Pay S&C Allowed Fees and Expenses.
14
                 S&C seeks Court authority to be paid the whole amount or a partial amount from the
15
     “Remaining Estate Funds” in the amount of $13,829,001, as of December 31, 2017, as set forth
16
     in the February 9, 2018 Plan, which are being maintained by Levene, Neale, Bender, Yoo & Brill
17
     L.L.P. (the “Escrow Agent”) at First Republic Bank in a segregated trust account.
18
     X.          Certifications
19
                 The undersigned attorney has reviewed the requirements of LBR 2016-1 and this
20
     application complies with the rule.
21

22               WHEREFORE, S&C respectfully requests the entry of an order: (i) approving first and

23   final allowance of fees in the amount of $62,208.75, contract paralegal expenses of $1,375.00,

24
     FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
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 1   and expenses in the amount of $1,437.05; and (ii) granting such other and further relief as the

 2   Court deems is just and proper.

 3

 4   Dated this 3rd day of April 2018.

 5
                                                                   Respectfully yours,
 6
                                                                   SOLOMON & CRAMER LLP
 7                                                                 Special Counsel

 8                                                                 /s/Andrew T. Solomon
                                                                   Andrew T. Solomon
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     FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
     DECLARATION OF ANDREW T. SOLOMON IN SUPPORT THEREOF

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                                    DECLARATION OF ANDREW T. SOLOMON

           1.          I, Andrew T. Solomon, hereby declare as follows:

           2.          I have personal knowledge of the facts set forth below and, if called to testify,

would and could competently testify thereto.

           3.          I am the managing partner of Solomon & Cramer LLP (“S&C”), Special Counsel

to the Official Committee of Equity Security Holders (the “Equity Committee”) and now the

litigation Trust created by the Equity Committee. I am an attorney licensed to practice law in the

States of New York and New Jersey. I am admitted to practice in this Court pro hac vice.

           4.          This declaration is submitted in support of the First Interim Application of

Solomon & Cramer LLP for Approval of Fees and Reimbursement of Expenses (the “Fee

Application”) for services rendered and expenses incurred for the period of November 29, 2017

to April 1, 2018. I am familiar with Local Bankruptcy Rule 2016-1.

           5.          To the best of my knowledge, information and belief, all of the matters stated in

the Fee Application are true and correct, and the Fee Application complies with all applicable

statutes, rules, regulations, and procedures, including Local Bankruptcy Rule 2016-1.

           6.          The amounts requested in the Fee Application for compensation of fees and

reimbursement of expenses incurred are based on S&C’s business records which are kept and

maintained in the ordinary course of business.

           7.          All expenses for outside services are based on actual expenses incurred except the

monthly contract paralegal expense which are marked up $50/hour or 40% for profit, expenses,

and overhead.

           8.          Attached as Exhibit A is S&C invoice for services rendered and expenses incurred

during the Covered Period.

FEE (N0523978).DOCX FIRST AND FINAL INTERIM
APPLICATION OF SOLOMON & CRAMER LLP FOR APPROVAL OF FEES
AND REIMBURSEMENT OF EXPENSES; DECLARATION OF ANDREW T.
SOLOMON IN SUPPORT THEREOF
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 1               9.          Attached as Exhibit B is the time detail for of counsel Rebecca A. Zawisky.

 2               10.         Attached as Exhibit C are the resumes of the Professionals.

 3               11.         I declare and verify under penalty of perjury that the foregoing is true and correct

 4   to the best of my knowledge.

 5
                 Executed on this 3rd day of April 2018, at New York, New York
 6

 7                                                                 /s/Andrew T. Solomon
                                                                   Andrew T. Solomon
 8                                                                 Special Counsel to the Trust Board

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24   FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
     DECLARATION OF ANDREW T. SOLOMON IN SUPPORT THEREOF

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 1

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 3
                                               EXHIBIT A
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23   FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
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Solomon & Cramer LLP
1441 Broadway, Suite 6026
New York, NY 10018
United States
212-884-9102




Matthew Pliskin                                                                             Balance         $65,020.80
1920 Hutton Court, Suite 300                                                                Invoice #       00250
Farmers Branch, TX, TX 75234
                                                                                            Invoice Date    April 2, 2018
                                                                                            Payment Terms   Due on Receipt
                                                                                            Due Date        April 02, 2018



Ironclad - Special Counsel to Equity Committee

For services rendered between
November 01, 2017 and February 28, 2018

Time Entries

Date         EE    Activity             Description                                               Rate      Hours     Line Total

                                        Call with Tania Moiron to discuss upcoming court
11/30/2017   ATS   Administration                                                                337.50       0.8          270.00
                                        events

11/30/2017   ATS   Case Analysis        Study insurance policy for coverage issues               337.50       1.2          405.00

                                        Review of
12/01/2017   ATS   Case Analysis                                                                 337.50       3.6      1,215.00
                                             ; report to committee

                                        Research                     as to claims against
12/01/2017   ATS   research                                                                      337.50       1.3          438.75
                                        officers and directors

                                        Call with Denton's lawyers to discuss
12/02/2017   ATS   Phone Call                                                                    337.50       0.5          168.75

12/02/2017   ATS   Case Analysis        Draft internal memo re. players and key events           337.50       0.7          236.25

12/03/2017   ATS   Case Analysis        Draft status update to Equity Committee                  337.50       0.4          135.00

12/03/2017   ATS   Case Analysis        Update memo re. key players and events                   337.50       0.6          202.50

                                        Research bankruptcy law issue of whether
12/04/2017   ATS   research                                   . Research                         337.50       1.9          641.25
                                               re. employment agreement

                                        Call with CA counsel to discuss
12/04/2017   ATS   Administration                                                                337.50       0.5          168.75

12/04/2017   ATS   Case Analysis        Review public filings and investigative reports (1.0)    337.50       1.0          337.50

12/04/2017   ATS   research             Research                                                 337.50       0.7          236.25

12/04/2017   ATS   Fact Investigation   Phone call with M. DiGrigorio to interview re case       337.50       0.5          168.75

                                        Review insurance draw stipulation and provide
12/05/2017   ATS   Case Analysis                                                                 337.50       0.3          101.25
                                        comments to counsel.
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                                     Research and draft objection to Aisenberg and
12/05/2017   ATS   Draft Pleadings   Cordes' claim                                         337.50   2.5          843.75


12/05/2017   ATS   Phone Call        Call with Tania Moyron re. bankruptcy procedure       337.50   0.4          135.00

                                     Research prior quarterly and 10K results that had
12/06/2017   ATS   research                                                                337.50   1.2          405.00
                                     to be restated and prepare summary chart

12/06/2017   ATS   Draft Pleadings   Draft objection to Aisenberg's and Cordes's claim     337.50   3.2      1,080.00

                                     Review letter from QBE and draft responsive letter
12/07/2017   ATS   Correspondence                                                          337.50   0.5          168.75
                                     demanding coverage

                                     Call with P. O'Brien regarding status of case and
12/07/2017   ATS   Phone Call                                                              337.50   0.4          135.00

                                     Call with T. Moyron regarding tasks and procedural
12/07/2017   ATS   Phone Call                                                              337.50   0.4          135.00
                                     issues

                                     Research and draft objection to claims by
12/07/2017   ATS   Draft Pleadings                                                         337.50   3.3      1,113.75
                                     Aisenberg and Cordes and adversary claims

                   Draft
12/07/2017   ATS                     Finalize letter to QBE re. insurance claim            337.50   0.2           67.50
                   Correspondence

                                     Draft cover memo and transmit Formal Order of
12/08/2017   ATS   Correspondence                                                          337.50   0.2           67.50
                                     Investigation to QBE

12/08/2017   ATS   Phone Call        Call with QBE to discuss coverage issues              337.50   0.3          101.25

12/08/2017   ATS   Draft Pleadings   Draft objection to claims and adversary claims        337.50   2.8          945.00

12/08/2017   ATS   Draft Pleadings   Edit court objections                                 337.50   0.5          168.75

                                     Call with S. Jarus and review
12/10/2017   ATS   Phone Call                                                              337.50   0.6          202.50

                                     Call with Kay Steelman to discuss investigation and
12/11/2017   ATS   Communications                                                          337.50   0.4          135.00
                                     prepare email re. call

                                     Review SEC correspondence and follow up re.
12/11/2017   ATS   Case Analysis                                                           337.50   0.7          236.25
                                     responses

12/11/2017   ATS   Phone Call        Conference call with Equity Committee                 337.50   0.5          168.75

12/11/2017   ATS   Settlement        Settlement call with Scott Alderton                   337.50   0.2           67.50

12/11/2017   ATS   Settlement        Follow up call with R. Chez re.                       337.50   0.2           67.50

12/12/2017   ATS   Case Analysis     Prepare for Texas trip                                337.50   2.8          945.00

12/12/2017   ATS   research          research                                              337.50   0.9          303.75

                   Drafting Court
12/13/2017   ATS                     Edit retention agreement                              337.50   0.4          135.00
                   Documents

12/13/2017   ATS   Case Analysis     Review client documents on premises                   337.50   5.8      1,957.50

                                     Call with Dentons attorneys to discuss
12/13/2017   ATS   Phone Call                                                              337.50   0.2           67.50

12/14/2017   ATS   research          Research                     for claims against BDO   337.50   0.3          101.25

12/14/2017   ATS   Phone Call        Call with T. Moyron to discuss                        337.50   0.3          101.25

12/14/2017   ATS   Meeting           Interview with Eric Yaeger                            337.50   1.5          506.25

                                     Interview with Tony Cecil to review work product
12/14/2017   ATS   Meeting                                                                 337.50   2.5          843.75
                                     from his investigation

12/14/2017   ATS   Draft Pleadings   Edit adversary complaint against former officers      337.50   1.0          337.50
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                                        Analyze enforcement of                        clause
12/15/2017   ATS   research                                                                      337.50   0.7          236.25
                                        for claim against

                   Draft
12/15/2017   ATS                        Edit answers to SEC inquiries                            337.50   0.8          270.00
                   Correspondence

                                        Draft summary of findings and outline of certain
12/15/2017   ATS   Case Analysis                                                                 337.50   2.5          843.75
                                        answers to SEC

                                        Review emails to research                      against
12/17/2017   ATS   Fact Investigation                                                            337.50   1.5          506.25
                                        former officers.

                                        Research                                for claims
12/18/2017   JC    Legal research                                                                225.00   0.4           90.00
                                        against former accounting firm

                                        Call with T. Moyron to go over bankruptcy
12/18/2017   ATS   Administration                                                                337.50   0.2           67.50
                                        proceedings

                                        Call with P O'Brien to go over
12/19/2017   ATS   Phone Call                                                                    337.50   0.4          135.00

                   Drafting Court       Edit court applications for appointment of firm by
12/19/2017   ATS                                                                                 337.50   1.2          405.00
                   Documents            bankruptcy court

12/19/2017   JC    Legal research       Research                                                 225.00   0.5          112.50

12/19/2017   ATS   Discovery            Duplicate email server for transmission to Dentons       337.50   0.2           67.50

                                        Review claims and make recommendation re.
12/19/2017   ATS   Correspondence                                                                337.50   0.4          135.00
                                        Skadden

                                        Research                    for claims against
12/20/2017   ATS   research                                                                      337.50   0.3          101.25
                                        officers

                                        Research
12/20/2017   JC    Legal research                                                                225.00   2.5          562.50
                                                                    .

                                        Email review of Cordes, Aisenberg and Felton for
12/21/2017   ATS   Fact Investigation                                                            337.50   3.6      1,215.00
                                        pleading

                                        Calls with equity committee members, P. O'Brien,
12/21/2017   ATS   Phone Call                                                                    337.50   0.9          303.75
                                        R. Bender and T. Moyron re. professional fees

12/21/2017   JC    Legal research       Research                .                                225.00   1.2          270.00

                   Drafting Court
12/22/2017   ATS                        review stipulation re. legal fee settlement              337.50   0.2           67.50
                   Documents

                                                      research for claims against former
12/22/2017   JC    Legal research                                                                225.00   0.5          112.50
                                        auditor

                                        Review and edit claim against Cordes and
12/22/2017   ATS   Draft Pleadings                                                               337.50   1.4          472.50
                                        Aisenberg

                                        Work on settlement with Skadden and with Stubbs
12/27/2017   ATS   Settlement                                                                    337.50   1.2          405.00
                                        Alderton including several calls with T. Moryon

01/02/2018   ATS   Draft Pleadings      Edit objection to claims by Cordes and Aisenberg         337.50   1.3          438.75

                                        Research
01/02/2018   ATS   research                                                                      337.50   0.5          168.75
                                               for purposes of claim against BDO

01/02/2018   ATS   Draft Pleadings      Draft objection to Cordes/Aisenberg claim                337.50   0.8          270.00

                                        Edit objections and adversary complaint versus
01/03/2018   ATS   Draft Pleadings                                                               337.50   1.5          506.25
                                        Cordes and Aisenberg

                   Draft Memorandum Draft memo on                       for claims against
01/03/2018   JC                                                                                  225.00   1.1          247.50
                   of Law           BDO
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                                        Call with T. Moyron re.
01/03/2018   ATS   Phone Call                                                                   337.50   0.7          236.25

                                        Edit objection to claims by Cordes and Aisenberg
01/04/2018   ATS   Draft Pleadings                                                              337.50   1.9          641.25
                                        and draft adversary claims

                                        Edit objections and adversary complaint v. Cordes
01/05/2018   ATS   Draft Pleadings                                                              337.50   1.6          540.00
                                        and Aisenberg

01/05/2018   ATS   research             Research                   for adversary complaint      337.50   0.7          236.25

                                        Review emails and documents re.
01/07/2018   ATS   Case Analysis                                                                337.50   0.5          168.75

                                        Call with T. Moyron regarding
01/08/2018   ATS   Phone Call                                                                   337.50   0.3          101.25

                                        Correspondence with P. O'Brien re.
01/08/2018   ATS   Correspondence                                                               337.50   0.2           67.50

                                        Research and review emails provided by P. O'Brien
01/08/2018   ATS   Fact Investigation                                                           337.50   1.1          371.25
                                        regarding

                                        Draft research memo for Denton's associate re.
01/08/2018   ATS   research                                                                     337.50   0.8          270.00

                   Draft Memorandum
01/08/2018   JC                     Draft memo on                                               225.00   1.2          270.00
                   of Law

                   Draft Memorandum Research and draft memo on
01/10/2018   JC                                                                                 225.00   3.2          720.00
                   of Law           analysis.

                                        Edit objections and draft adversary claims against
01/10/2018   ATS   Draft Pleadings                                                              337.50   3.0      1,012.50
                                        Cordes and Aisenberg

                                        Review various aspects of the plan for purposes of
01/12/2018   ATS   Case Analysis                                                                337.50   0.4          135.00

                                        Call with P. O'Brien to discuss
01/12/2018   ATS   Phone Call                                                                   337.50   0.3          101.25

                                        Research j                issues with respect
01/16/2018   ATS   research                                                                     337.50   1.3          438.75
                                        counterclaims

                                        Advise client re.                          for claims
01/16/2018   ATS   Case Analysis                                                                337.50   0.7          236.25
                                        against Cordes and Aisenberg

                   Draft Memorandum Draft                   memo; research
01/16/2018   JC                                                                                 225.00   2.5          562.50
                   of Law

                   Draft Memorandum Revise memo on                        for claims against
01/17/2018   JC                                                                                 225.00   0.5          112.50
                   of Law           BDO

01/17/2018   JC    Legal research       Research                  affirmative defense           225.00   0.5          112.50

01/17/2018   ATS   Case Analysis        Advise committee re.                                    337.50   0.3          101.25

                                        Edit adversary complaint and objection against
01/17/2018   ATS   Draft Pleadings                                                              337.50   0.4          135.00
                                        Cordes & Aisenberg

                                        Research i
01/18/2018   JC    Legal research                                                               225.00   2.5          562.50

01/19/2018   ATS   Draft Pleadings      Draft and edit objections and adversary claims          337.50   0.8          270.00

                                        Draft and send list of additional claims to R.
01/19/2018   ATS   Draft Pleadings                                                              337.50   0.2           67.50
                                        Zawisky for purposes of adversary drafting

01/19/2018   ATS   Correspondence       Draft second demand letter to potential defendants      337.50   0.8          270.00
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                                     Edit objections and complaint against Cordes and
01/19/2018   ATS   Draft Pleadings                                                         337.50   1.3          438.75
                                     Aisenberg

                                     Revise and edit Objections for claims against
01/19/2018   JC    Draft Pleadings                                                         225.00   1.2          270.00
                                     Cordes & Aisenberg

01/19/2018   ATS   Legal research    Research                                              337.50   0.7          236.25

                                     Edit statement of objection and adversary claims
01/20/2018   ATS   Draft Pleadings   against Cordes and Aisenberg                          337.50   0.8          270.00


                                     Research                            against Cordes
01/21/2018   ATS   research                                                                337.50   3.7      1,248.75
                                     and Aisenberg

01/21/2018   JC    Legal research    Research                                              225.00   1.0          225.00

                                     Research                            against Cordes
01/22/2018   ATS   research                                                                337.50   1.0          337.50
                                     and Aisenberg

01/22/2018   ATS   Phone Call        Call with P. O'Brien to discuss case                  337.50   0.4          135.00

01/22/2018   JC    Draft Pleadings   Edit Objections to Claim by Cordes and Aisenberg      225.00   1.7          382.50

                                     Edit objections and counterclaims re. Cordes and
01/22/2018   ATS   Draft Pleadings                                                         337.50   0.9          303.75
                                     Aisenberg

01/22/2018   ATS   Phone Call        Call with M. Pliskin to go over                       337.50   0.3          101.25

                                     call with equity committee to update on strategy
01/22/2018   ATS   Phone Call                                                              337.50   0.7          236.25
                                     and status

                                     Call with consultant re. insurance coverage
01/22/2018   ATS   research                                                                337.50   0.3          101.25
                                     questions

                                     Draft email outlining litigation recommendations re
01/23/2018   ATS   Case Analysis                                                           337.50   0.7          236.25
                                     BDO and other parties

01/24/2018   ATS   Administration    Review timetable for hearings and motion papers       337.50   0.4          135.00

                                     Research and draft                          to
01/24/2018   ATS   research                                                                337.50   1.2          405.00
                                     committee re. claims against BDO

                   Draft Memorandum
01/24/2018   JC                     Draft memo on                                          225.00   2.4          540.00
                   of Law

01/26/2018   ATS   Phone Call        Call with P. O'Brien to discuss litigation strategy   337.50   0.3          101.25

01/26/2018   ATS   Phone Call        Call with R. Chez to discuss litigation strategy      337.50   0.2           67.50

01/26/2018   ATS   Case Analysis     Edit memo of law on                                   337.50   0.5          168.75

01/26/2018   ATS   Case Analysis     Edit memo of law in opposition to arbitration         337.50   0.4          135.00

                                     Final preparation and edit of objection and
01/26/2018   ATS   Draft Pleadings                                                         337.50   3.6      1,215.00
                                     adversary complaint

                   Draft Memorandum
01/27/2018   JC                     Revise                 memorandum.                     225.00   2.0          450.00
                   of Law

01/28/2018   ATS   research          Edit memo on                            and BDO       337.50   0.5          168.75

                                     Research
01/28/2018   JC    Legal research                                                          225.00   0.9          202.50

                                     Research
01/29/2018   JC    Legal research                                                          225.00   2.5          562.50

                   Draft Memorandum
01/30/2018   JC                     Revise                                                 225.00   3.2          720.00
                   of Law

                   Draft Memorandum Research                and revise
01/31/2018   JC                                                                            225.00   3.7          832.50
                   of Law           memo
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02/01/2018   ATS   research             Work on research                    against BDO         337.50   1.8          607.50

                                        Calls with T. Moyron to discuss plan objection and
02/06/2018   ATS   Communications                                                               337.50   0.2           67.50
                                        indemnification

                                        Attention to service of summons and complaint,
02/06/2018   ATS   Service of Process   including preparing and filing "judge's copy" with      337.50   1.2          405.00
                                        court

                                        Respond to committee questions re.
02/06/2018   ATS   Communications                                                               337.50   0.8          270.00

                                        Call with committee re. strategy and follow up with
02/08/2018   ATS   Communications                                                               337.50   0.5          168.75
                                        individual members

                   Draft
02/08/2018   ATS                        Prepare demand letter to BDO                            337.50   1.8          607.50
                   Correspondence

                   Expert Reports and Identify potential                               expert
02/09/2018   ATS                                                                                337.50   0.2           67.50
                   Witnesses          witnesses and disclose to committee

                   Draft
02/09/2018   JC                         Edit draft demand letter to BDO.                        225.00   0.3           67.50
                   Correspondence

                   Draft
02/09/2018   ATS                        Edit letter to BDO with demand and claims               337.50   0.2           67.50
                   Correspondence

                   Expert Reports and
02/09/2018   ATS                      Interview potential expert,                               337.50   0.4          135.00
                   Witnesses

                                        Communications with committee and counsel re.
02/09/2018   ATS   Communications                                                               337.50   0.3          101.25

                   Expert Reports and Phone call with potential expert firm for
02/13/2018   ATS                                                                                337.50   0.3          101.25
                   Witnesses

02/13/2018   ATS   Administration       Review bankruptcy plan draft order                      337.50   0.2           67.50

                                        Research                              by Cordes and
02/14/2018   ATS   research                                                                     337.50   0.4          135.00
                                        Aisenberg

                   Drafting Court
02/14/2018   ATS                        Draft withdrawal of objection to arbitration            337.50   0.8          270.00
                   Documents

02/19/2018   ATS   Correspondence       Edit letter to BDO re demand and claims                 337.50   0.4          135.00

                                        Review motion papers to withdraw opposition to
02/19/2018   ATS   Motion Practice                                                              337.50   0.2           67.50
                                        arbitration

02/20/2018   ATS   Case Analysis        Advise re.                                              337.50   0.2           67.50

                                        Review correspondence re. QBE stipulation in
02/20/2018   ATS   Case Analysis                                                                337.50   0.3          101.25
                                        bankruptcy

                   Draft
02/20/2018   JC                         Edit draft demand letter to BDO                         225.00   0.1           22.50
                   Correspondence

                   Draft
02/20/2018   ATS                        Edit letter to BDO re. demand                           337.50   2.0          675.00
                   Correspondence

                                        Research objections to
02/21/2018   ATS   research                                                                     337.50   0.9          303.75
                                              concerning Cordes and Aisenberg

02/21/2018   ATS   Administration       Call with T. Moyron re. estimation motion               337.50   0.3          101.25

                   Drafting Court       Draft response to withdrawal of arbitration request
02/22/2018   ATS                                                                                337.50   3.3      1,113.75
                   Documents            by Cordes and Aisenberg

                   Draft Memorandum Draft response on arbitration waiver and changed
02/23/2018   ATS                                                                                337.50   1.1          371.25
                   of Law           position of Cordes and Aisenberg
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                   Drafting Court       Edit Response to Cordes and Aisenberg
02/23/2018   JC                                                                                  225.00         0.7          157.50
                   Documents            Withdrawal of demand for arbitration

                   Draft Memorandum Edit memo of law for response to arbitration
02/23/2018   ATS                                                                                 337.50         0.9          303.75
                   of Law           objections

                   Draft Memorandum
02/23/2018   ATS                    Edit response to arbitration waiver argument                 337.50         1.2          405.00
                   of Law

02/23/2018   ATS   Draft Memorandum Edit response to arbitration waiver argument                 337.50         1.2          405.00
                   of Law

02/23/2018   JC    Legal research                      research                                  225.00         0.5          112.50

                   Draft Memorandum
02/25/2018   ATS                    Edit response to arbitration objection                       337.50         0.7          236.25
                   of Law

                   Draft Memorandum Edit response to partial withdrawal and Cordes and
02/25/2018   ATS                                                                                 337.50         1.4          472.50
                   of Law           Aisenberg's opposition to arbitration

                   Draft Memorandum Final review and edits to response on arbitration
02/26/2018   ATS                                                                                 337.50         1.0          337.50
                   of Law           issues

                   Prepare for
02/26/2018   ATS                        Prepare for status conference                            337.50         1.0          337.50
                   Hearing/Argument

                   Prepare for
02/27/2018   ATS                        Prepare for status conference                            337.50         1.1          371.25
                   Hearing/Argument

                                        Review                          , claims against other
02/27/2018   ATS   Case Analysis        officers, and other potential issues re                  337.50         0.5          168.75


                                        Research                   issues in preparation for
02/27/2018   ATS   research                                                                      337.50         0.9          303.75
                                        status conference

02/27/2018   JC    Legal research                      research                                  225.00         1.2          270.00

                                        Attend court hearing for motion and status
02/27/2018   ATS   court appearance                                                              337.50         1.0          337.50
                                        conference

                   Draft Memorandum
02/28/2018   JC                     Revise                    Memo                               225.00         0.5          112.50
                   of Law

                   Drafting Court       Draft order for Court from hearing re. mediation
02/28/2018   ATS                                                                                 337.50         0.7          236.25
                   Documents            and withdrawal

                                                                                                 Totals:      169.6     $52,908.75

Expenses

Date         EE    Activity             Description                                               Cost     Quantity     Line Total

                                        Trip to Texas to review documents (flights, hotel,
12/15/2017   ATS   Transportation                                                                566.33         1.0          566.33
                                        taxi)

12/22/2017   ATS   Postage              Send disc of emails to Dentons                            24.45         1.0           24.45

                   Contract-Attorney    R. Zawisky contract attorney services December
01/22/2018   ATS                                                                                 187.50       25.6       4,800.00
                   Zawisky              2017

                   Contract-Attorney
01/31/2018   ATS                        January contract legal services - Zawisky                187.50       24.0       4,500.00
                   Zawisky

                                        Richard Lombardo January 2018 Assistance with
01/31/2018   ATS   Contract Paralegal                                                            125.00         9.5      1,187.50
                                        complaint and ECF filing

                                        service of summons and complaint on Cordes and
02/06/2018   ATS   Postage                                                                        13.40         1.0           13.40
                                        Aisenberg via first class mail
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02/06/2018   ATS   Postage              Mail Judge's Copy and Proof of Service                      24.70            1.0            24.70

02/22/2018   ATS   Postage              mail demand letter (Ironclad)                                6.70            1.0             6.70

02/24/2018   ATS   Transportation       Flight to LA for Status Conference                        315.65             1.0           315.65

02/26/2018   ATS   Transportation       Train from home to airport                                  20.00            1.0            20.00

02/27/2018   ATS   Travel Meal          Water at Strabucks                                           2.30            1.0             2.30

                                        Parking at Denton's office - LA trip for status
02/28/2018   ATS   Transportation                                                                   31.00            1.0            31.00
                                        conference

                                        Marriott hotel Trip to LA for Status Conference
02/28/2018   ATS   Transportation                                                                 370.32             1.0           370.32
                                        & Parking

02/28/2018   ATS   Transportation       Delta sky club to work at airport - status conference       29.00            1.0            29.00

02/28/2018   ATS   Travel Meal          breakfast at Pantry Cafe - status conference                20.00            1.0            20.00

02/28/2018   ATS   Travel Meal          Lunch at Starbucks day of status conference                 13.20            1.0            13.20

                                        ECF management and filing; prepare and file notice
02/28/2018   ATS   Contract Paralegal                                                             125.00             1.5           187.50
                                        of appearance

                                                                                                           Expense Total:     $12,112.05


                                                                                                Time Entry Sub-Total:         52,908.75
                                                                                                  Expense Sub-Total:          12,112.05
                                                                                                            Sub-Total:        65,020.80


                                                                                                                Total:        65,020.80
                                                                                                      Amount Paid:                   0.00

                                                                                                       Balance Due:          $65,020.80
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23   FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
     DECLARATION OF ANDREW T. SOLOMON IN SUPPORT THEREOF

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                                               EXHIBIT C
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23   FIRST AND FINAL INTERIM APPLICATION OF SOLOMON & CRAMER LLP
     FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
     DECLARATION OF ANDREW T. SOLOMON IN SUPPORT THEREOF

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